IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

DR. ERIC BLINMAN,
Former Director, New Mexico
Office of Archeological Studies,

Plaintiff,
Vv. Civ. No. 23-431 KG/JMR

GOVERNOR MICHELLE LUJAN GRISHAM,
individually and as Governor of the
State of New Mexico, et al.,

Defendants.

MEMORANDUM OPINION AND ORDER

THIS MATTER comes before the Court on Defendants’ Partial Motion to Dismiss
Plaintiff's Second Amended Complaint, (Doc. 26), filed November 29, 2023. Plaintiff filed his
response, (Doc. 28), December 19, 2023. Defendants filed their reply, (Doc. 29), January 3,
2024. Having considered the briefing and the applicable law, the Court denies Defendants’
Motion.

I Background!

On February 13, 2023, Plaintiff Dr. Eric Blinman was fired from his job. (Doc. 21) at 12.
For 17 years leading up to his termination, Dr. Blinman served the State of New Mexico as the
Director for the New Mexico Office of Archeological Studies. /d. at 6. Dr. Blinman alleges he
was illegally fired in retaliation for his whistleblowing activity and because of his age, race, and

gender. Jd. at 13.

' The Court summarizes only those portions of Plaintiff's Second Amended Complaint,
(Doc. 21), relevant to Defendants’ Motion.
A couple of years preceding his termination—from July 2021 through sometime in
2022—Dr. Blinman made numerous requests to the New Mexico Department of Cultural Affairs
(NMDCA) Cabinet Secretary, Defendant Debra Garcia y Griego, to interview, vet, and hire
potential employees. Jd. at 4,7. These employees were to become his direct reports and would
“enable him to effectively perform his job duties.” Jd. at 7. Dr. Blinman alleges Defendant
Garcia y Griego was looking for justification to fire him. Jd. By ignoring his requests, she
would be able to undermine his ability to do his job, thereby providing her with the justification
she needed to fire him. Jd. at 4, 7. Believing this stonewalling constituted unlawful or improper
action, Dr. Blinman reported Defendant Garcia y Griego’s alleged misconduct to Defendant Ken
Lucero, NUDCA’s Human Resources Director. Jd. at 8. Sometime later, Defendant Lucero
reported Dr. Blinman’s “first whistleblower complaint” to the New Mexico Risk Management
Division (NMRMD). Jd. However, it was not until early-to-mid January 2023—shortly before
Dr. Blinman was fired—that an NMRMD retained attorney contacted Dr. Blinman to investigate
his first whistleblower complaint. Jd.

In 2022, the same year he reported his first whistleblower complaint, Dr. Blinman also
reported his “second whistleblower complaint” to Defendant Lucero. He told Defendant Lucero,
in confidence, that he was told a rumor: Defendant Garcia y Griego was having an inappropriate
relationship with a subordinate. Jd. Dr. Blinman believed such a rumor could negatively impact
the NMDCA workplace and, if true, would be a violation of the State’s code of professional
conduct. Jd. at 8-9. After telling Defendant Lucero of this rumor, Dr. Blinman appears to allege
that Defendant Lucero betrayed his confidence and conveyed the substance of his second

whistleblower complaint to Defendant Garcia y Griego. Jd. at 9.
Dr. Blinman further alleges that Defendants, and specifically Defendant Garcia y Griego,
retaliated against him because of his two whistleblower complaints. Indeed, after his second
whistleblower complaint, Dr. Blinman contends Defendant Garcia y Griego immediately
retaliated against him by initiating a “Performance Development Plan” (PDP). Jd. He asserts
this PDP falsely accused him of performance deficiencies based on his whistleblower
complaints. Jd. at 10. In addition to performance deficiencies, the PDP included an Action Plan.
The Action Plan outlined respective goals and responsibilities for Dr. Blinman and Defendant
Garcia y Griego. See id. The Action Plan also stated that Dr. Blinman was expected to
substantially complete the goals outlined in the Action Plan by June 3, 2022. Jd. (citing
(Doc. 21-7)). But because June 3, 2022, “came and went with no further outcry or follow up
from Defendant Garcia y Griego,” Dr. Blinman claims he satisfied the expectations outlined in
the Action Plan. Jd.

Dr. Blinman claims the “final act of retaliation” occurred February 13, 2023. Jd. at 12.
On this date, Dr. Blinman received a letter of termination—allegedly without notice or cause—
and was banned from his office without a “good faith, legitimate reason.” Jd. Despite the
termination letter stating he was an at-will employee, Dr. Blinman asserts that he was not. Jd.
Instead, he claims his employment with NUDCA was “governed by the express and implied
contract based on NMDCA Policies Nos. B-1, HR007, and HRO10, to which all Defendants were
bound.” Jd. at 23.

I Legal Standard

Under Federal Rule of Civil Procedure 12(b)(6), a court may dismiss a claim for “failure

to state a claim upon which relief can be granted.” A complaint may survive a motion to dismiss

only if it contains sufficient facts, accepted as true, to state a claim to relief that is plausible on its
face. Employees’ Ret. Sys. of R.I. v. Williams Cos., Inc., 889 F.3d 1153, 1161 (10th Cir. 2018)
(citation omitted); accord Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (explaining to survive
dismissal, complaint must “state a claim to relief that is plausible on its face”). A claim is
plausible on its face ““when the plaintiff pleads factual content that allows the court to draw the
reasonable inference that the defendant is liable for the misconduct alleged.” Free Speech v.
Fed. Election Comm'n, 720 F.3d 788, 792 (10th Cir. 2013) (citation omitted).

In making this plausibility assessment, courts “accept as true ‘all well-pleaded factual
allegations in a complaint and view these allegations in the light most favorable to the plaintiff.’”
Schrock v. Wyeth, Inc., 727 F.3d 1273, 1280 (10th Cir. 2013) (citation omitted). As a result, a
court “may not dismiss on the ground that it appears unlikely the allegations can be proven.”
Robbins v. Oklahoma, 519 F.3d 1242, 1247 (10th Cir. 2008). “[T]he degree of specificity
necessary to establish plausibility and fair notice, and therefore the need to include sufficient
factual allegations, depends on context.” Jd. at 1248. Accordingly, a court should conduct its
plausibility and sufficiency analyses on a case-by-case basis. See id. at 1248-49 (explaining
complaint alleging negligence may require less factual support than conspiracy or qualified
immunity action). However, “[p]laintiffs must nudge the claim across the line from conceivable
or speculative to plausible.” Brooks v. Mentor Worldwide LLC, 985 F.3d 1272, 1281 (10th Cir.
2023) (citing Brown v. Montoya, 662 F.3d 1152, 1162-63 (10th Cir. 2011). “Allegations that are
‘merely consistent with a defendant's liability’ stop short of that line.” Jd. (citations omitted).
IIT. Discussion

In his Second Amended Complaint, Plaintiff Dr. Blinman asserts four counts against
Defendants. Relevant to this Motion is Count [V—Breach of Express and Implied Contract.

Defendants move to dismiss Count IV, arguing that Dr. Blinman is precluded from bringing a
breach of contract claim because he was an at-will employee. (Doc. 26) at 3-8. The Court is
unpersuaded.

Generally, an at will employment contract can be terminated by either part. Hartbarger
v. Frank Paxton Co., 1993-NMSC-029, § 4. However, an implied employment contract may
restrict an employer’s power to discharge at-will employees. Jd. That said, as both parties note,
NMSA 1978, Section 37-1-23(A) provides that “[g]overnmental entities are granted immunity
from actions based on contract, except actions based on a valid written contract.” (Doc. 26) at 3;
(Doc. 28) at 4. The New Mexico Supreme Court, however, has held that an implied employment
contract can also waive governmental immunity. Garcia v. Middle Rio Grande Conservatory
District, 1996-NMSC-029, ¢ 15 (citation omitted). An implied employment contract can be
based on a written term in a personnel policy manual. Jd. Consequently, a plaintiff can
overcome governmental immunity under Section 37-1-23(A) by alleging facts demonstrating that
written employment policies may have constituted an implied contract.

Here, Plaintiff alleges facts suggesting that the NMDCA policies controlled his
employment relationship with Defendants. Plaintiff cites, for example, NMDCA policies that
apply to all employees—including Defendants. (Doc. 21) at 23. These policies include
NMDCA’s policy related to workplace: (1) conduct and ethics, (Doc. 21-4), (2) harassment,

discrimination, and bullying, (Doc. 21-5), and (3) disciplinary action, (Doc. 21-6). See

? Plaintiff, in his complaint, referred to and attached a number of documents, including:

(1) NMDCA’s Code of Ethics, (Doc. 21-4), (2) NUDCA’s policy Prohibiting Harassment,
Discrimination and Bullying in the Workplace, (Doc. 21-5), and (3) NMDCA’s policy regarding
Disciplinary Action, (Doc. 21-6). Because these attachments are central to Plaintiff's claims and
their authenticity is not disputed, the Court may consider them as part of Plaintiff's complaint.
See Hampton vy. root9B Tech., 897 F.3d 1291, 1297 (10th Cir. 2018) (explaining a court may
consider documents referred to in the complaint without converting a motion to dismiss into a
motion for summary judgment “if the documents are central to the plaintiff's claim and the
parties do not dispute the documents’ authenticity.”)

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(Doc. 21) at 23-24. Among other things, these policies protect employees against retaliation,
(Doc. 21-5), and provide guidelines for supervisors to apply to discipline employees. (Doc. 21-
6) at 6 (“Supervisors are required to apply discipline in a fair and equitable manner, for just
cause to all employees under their supervision.”). Thus, taking all well-pled facts as true and
making all reasonable inferences in favor of Plaintiff, the Court determines a fact issue exists as
to whether the written policies constituted an implied contract, thereby waiving immunity under
Section 37-1-23(A). Plaintiff has therefore alleged sufficient facts to maintain his Breach of
Express and Implied Contract claim.
IV. Conclusion

For the foregoing reasons, the Court denies Defendants’ Partial Motion to Dismiss

Plaintiff's Second Amended Complaint.

IT IS SO ORDERED.

ITPD STAYES D, CT JUDGE
